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LAW OFFICES OF
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                                                      July 28, 2022

      By ECF and Email
      United States District Court, Eastern District of New York
      Judge Rachel P. Kovner, U.S.D.J.
      Courtroom: 4E-N
      225 Cadman Plaza East
      Brooklyn, New York 11201

               Re:      United States v. Dzenan Camovic, 20-CR-00326

      Dear Judge Kovner:

               On behalf of defendant Dzenan Camovic, we submit this abbreviated sentencing

      submission. On August 4, 2022, Dzenan Camovic comes before this Honorable Court for

      acceptance of the Rule 11(c)(1)(C) plea and sentencing that resolves his state and federal

      charges. The plea calls for a thirty-year (360 months) concurrent sentence, inclusive of the time

      already served since June 4, 2020 in state custody, as well as time in federal custody (i.e. 360

      months less the time spent in state and federal custody). 1 As part of the negotiated plea, Camovic

      also surrendered certain appellate rights and any future challenge to his removal from the United

      States by signing a Stipulated Order of Removal. That sentence, the result of negotiation among


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       The People of New York v. Dzenan Camovic, Indictment No. 00928-2020, is the companion case in Kings County,
      New York. Later in the afternoon of August 4, Camovic is scheduled to appear in Kings County for his state court
      sentencing.
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the parties, consideration of both the aggravating and mitigating factors, and with the consent of

the injured officers, constitutes a sentence that is sufficient, but not greater than necessary. It

recognizes the seriousness of the defendant’s offense, the need for deterrence, retribution and

protection of the public, as well as the mitigating impact of Dzenan’s personal history and

characteristics, and his struggle with mental health.



                                           Brief Statement of Offense

         On June 3, 2020, Mr. Camovic was supposed to spend the night at his cousin Ubeid’s

apartment after having dinner with him and two others. It was later at night, and there was a

curfew in place because of the protests and disorder of those summer months in the aftermath of

George Floyd’s death. The area of Brooklyn where the family lives and works is dangerous

enough at night under any circumstances and Dzenan routinely carried a knife with him for

protection. Ubeid was supposed to meet Dzenan in front of one of the apartments his father

managed, but he was late, infuriating Dzenan who waited briefly, and then left. Dzenan Camovic

who had walked past Officers Randy Ramnarine and Yayon-Frantz Jean-Pierre, came back to the

street corner where the officers were posted and attacked them. He stabbed Officer Jean-Pierre

in side of his neck with the broken kitchen knife he had with him, and in the ensuing struggle,

wrested the officer’s service firearm from his person and fired at him and his partner. When

multiple officers responded to the scene, Mr. Camovic fired multiple times in their direction

before he was shot in his neck, face, chest, left arms, left leg, and groin. 2 In addition to the


2
  These very serious injuries led to multiple surgeries over the course of many months, the removal of a testicle and
the fusion of vertebrae in his neck to stabilize it. The latter injury was the most serious. As disclosed in the medical
records, Mr. Camovic was diagnosed with a C-1 anterior tubercle fracture and type 2 dens fracture, which is a break
at the base of the dens, the second vertebrae of the neck. Mr. Camovic was required to wear a cervical collar and reside
in the medical unit at Rikers, as further trauma, even minor, risked catastrophic spinal injury resulting in quadriplegia
or death. Mr. Camovic underwent a neurosurgical procedure to repair the above noted C1 anterior tubercle and type 2
base of dens/odontoid fractures on February 25, 2021, at Bellevue Hospital by Dr. Steven Russell, MD. The procedure


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injuries suffered by Officer Jean-Pierre, Officer Ramnarine and Officer Nelson Tam were each

shot in the hand, resulting in permanent injuries.

         Mr. Camovic’s attack on the officers was unprovoked. It was also a shock to Mr.

Camovic’s family, friends and community. Dzenan who had attended college briefly, and at one

time wanted to be a police officer himself, was a hard-working son of a building superintendent,

with no prior criminal history, and no known history of radical views. He had been living in the

United States for more than 15 years, an immigrant son of refugee parents who came to the

United States for its freedoms. 3 He had younger siblings, friends, and a place alongside his

father and uncle, working on apartment buildings and the renovation an old house his father had

bought in upstate New York on weekends. There was seemingly no rational explanation for his

decision that night, and so both the Government and his family sought one.

         The Government’s explanation is that Mr. Camovic was motivated by his religious

beliefs, and that his attack on the officers was a terrorist attack or terrorist inspired. In support,

the Government cites the fact of his Muslim religion, the presence of religious lectures

associated with radical clerics such as Anwar Al-Alwaki in the family home, his utterance of

“Allahu Akbar” during the assault, his alleged statement to a nurse while under the influence and




was “Arthrodesis posterior atlas-axis C1-C2, and it involved fusion with instrumentation of spine posterior Cervical
C1-2.”

3
  Dzenan’s father Husejin was from Bosnia, and his mother, Sabina, from Kosovo, during the period of upheaval in
that region of the world. They had met in Bosnia when she visited family, and fell in love. Husejin was inducted in
the Bosnian army and spent three years in Sarajevo during the infamous Siege of Sarajevo, the longest and one of
the most brutal sieges of a capital city in modern warfare that later resulted in prosecutions of Serbian officials for
crimes against humanity by the International Criminal Tribunal for former Yugoslavia. Husejin and Sabina later met
in Germany as refugees, where Dzenan, Dzennana and Dzenita were born.




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experiencing side effects of Seroquel 4, and evidence found on Mr. Camovic’s phone indicating

that he had browsed websites associated with ISIL, namely Dabiq and Al Hayat Media. As part

of his plea, Dzenan has accepted full responsibility for his actions that evening and has stipulated

to the terrorism enhancement under U.S.S.G. Section 3A1.4. Although Mr. Camovic’s crimes

are not federal crimes of terrorism as defined by the statute, his crimes fall under the

“promotion” prong of Section 3A1.4. 5

         His family believes that Mr. Camovic’s motivation for his inexplicable attack on the

police officers was caused by despair and longstanding but unaddressed mental health issues,

which only intensified during COVID. As the law makes clear, a defendant’s motivation is not

the central issue for purposes of applying the terrorism enhancement. Thus, Mr. Camovic’s

mental health issues and the role his untreated depression played in his violent conduct that night

is properly part of the consideration of the Court’s sentencing determination under 18 U.S.C.

Section 3553, and the defendant’s personal history and circumstances. It in no way excuses his

conduct, but explains, in part, how this young man’s past was inextricably intertwined with his

crime.

                                           Defendant’s Background

         As related in the PSR, Mr. Camovic was born in Germany, where his parents had

reunited as refugees. Husejin had fled from Bosnia, after three years fighting in Sarajevo during



4
  The attached medical records from Kings County Hospital demonstrate that Camovic was prescribed Seroquel and
was experiencing delirium and reported seeing things while asleep around the time of the alleged statement. (Exhibit
A).
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  The ordinary meaning of the “intended to promote” prong gives that clause a separate meaning from the
“involved” prong of § 3A1.4. The “intended to promote” prong applies where the defendant's offense is intended
to encourage, further, or bring about a federal crime of terrorism, even though the defendant's own crime of
conviction or relevant conduct may not include a federal crime of terrorism. United States v. Awan, 607 F.3d 306,
314 (2d Cir. 2010)




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the infamous Siege of Sarajevo. Husejin married his wife Sabina in Kosovo, and Dzenan, and

two sisters, Dzenana and Dzenita, were born in Germany. Rather than offering a path to

citizenship to Bosnian refugees, Germany encouraged voluntary deportation, on the threat of

future mandatory deportation. Husejin could not return to Bosnia, or contemplate a future for his

children there given what he had endured during the war, and Sabina who was from Kosovo and

not a Bosnian citizen, would not have been permitted to return with him. The family instead left

for the United States, where their Muslim identity would not subject them to persecution. The

family settled in Brooklyn, and the three youngest children were born here -



       Life in the Camovic household was difficult. (Exhibit B, Letter of Dzenita Camovic).

The family was constantly worried about being deported as they sought to adjust their status.

Deportation would necessarily result in the family being separated, as only Husejin was an

acknowledged citizen of Bosnia. They avoided participating in programs or traveling to

minimize interactions with law enforcement. The family constantly struggled financially as well.

Husejin worked multiple jobs in construction and as a building superintendent. Sabina tried to

take jobs cooking for people, or doing child care, but struggled to adapt to life in the United

States. As they grew older, Dzenan and his siblings realized that the reason their mother was

often so absent from their lives,




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       Husejin was similarly unavailable to his children. He loved them, but continued to live

as he had as a soldier. He had strict rules to which all the children had to adhere. The children

knew that their parents loved them, but it was not something that was expressed with shows of

affection or emotion.

       Dzenita realized how much her parents’ unaddressed trauma from their experiences

during the war and as refugees affected her siblings. (Id.) Dzenan in particular had a difficult

time at school and at home. He was bullied mercilessly, and when he came home bloodied after a

particularly bad beating, his father instructed him that he was not to come home again beaten up.

Dzenan was expected to solve his problems with his fists, but he was by nature a quiet, geeky

boy who loved computer games and books.

       In middle school, his parents were called in to discuss what his teacher perceived as his

need for a psychological evaluation. He began to act out in school, and was suspended several

times. His parents resisted the implication that their son need psychological help, in part because

of their culture and their belief that faith was the cure for Dzenan’s unhappiness. (Id.).

       Their experiences during this period, and the subsequent hardship of living as refugees,

shaped the Camovic family and influenced how the children were raised. All the children were

impacted by their parent’s emotional issues, by the stress and anxiety around their undocumented

status, and by the family’s continuing financial struggles. Dzenan still convinced himself that he

could have a future here, and aspire to something more than living in the shadows. Despite his

inability to secure student loans and the lack of any documentation or citizenship, Dzenan was

determined to attend college in an effort to establish a more fulfilling life here. He worked to

save money for college, enrolling at City Tech to study construction management. Eventually,

however, Dzenan dropped out. The financial burden of college and the time commitment was




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impacting his ability to contribute to the family’s finances. (Id.) Discouraged and disheartened,

Dzenan fell into a deep depression, feeling as if he had no “identity” and no future. He was

stateless, with no citizenship status in any country, he couldn’t have a driver’s license, bank

account or passport. He despaired that he would never have any future, here or anywhere else.

Once again, the family noticed the change in his personality, and the clear signs of depression,

but never sought counseling.

       In his family’s view, on the night of June 3, Mr. Camovic’s depression and self-loathing

reached a boiling point. His actions were those of a desperate, disordered mind. The violent

encounter with police was one in which he hoped to find release, in dying. The hospital records

document his mental state. He was suffering from hallucinations and delirium, necessitating a

psychiatric consultation and prescription of antipsychotic medication. Following his recovery

from multiple surgeries for his gunshot wounds, he was later prescribed antidepressants which he

continued to receive following his transfer to BOP. In the aftermath of the shooting, the

Camovic family has struggled with the terrible actions of their son that night and the thought that

had he sought psychiatric help, it might have been avoided. As his sister Dzenita has related,

both the family and the larger Muslim immigrant community they belong to have begun to

recognize the need to better understand mental health problems that plague many in the

community, and to embrace the role of medical professionals in addressing what faith cannot

heal. (Exhibit B).




       Dzenan Camovic’s undiagnosed and untreated mental health issues are not an excuse for

his crimes. They do help put into context other factors that were at play and may have




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contributed to his terrible actions that night, something that might otherwise be lost in the

stipulation that his crime was related to, or one that inspires terrorism, based on violent ideology

that he was exposed to in the previously mentioned videos.



                                             Conclusion

       There is no question that Dzenan Camovic committed very serious crimes, and that the

punishment reflects the seriousness of his offenses. Based this incident, he was charged both in

the federal and state systems. The U.S. Attorney for E.D.N.Y. and the District Attorney for

Kings County, after carefully reviewing the evidence and surrounding circumstances, and after

consultation with the injured officers, have agreed to concurrent 30 year sentences with credit for

time served in both jurisdictions. We respectfully urge the Court to accept the plea and

sentencing recommendations as agreed to by the parties as a sentence that is sufficient but not

greater than necessary, to achieve the purposes of the Sentencing Act. Dzenan has and continues

to accept full responsibility for his actions that night, and will live with the very substantial

consequences, including spending decades in prison.




                                               Respectfully submitted,

                                               /s/ Robert G. Stahl
                                               /s/ Laura K. Gasiorowski
                                               _____________________________
                                               ROBERT G. STAHL, ESQ.
                                               LAURA K. GASIOROWSKI, ESQ.
                                               Attorneys for the Defendant Dzenan Camovic


DATED: July 28, 2022

cc:    AUSAs Hafetz, McConnell & Heeren (via ecf and email)



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